Case 1:02-cr-00024-MW-GRJ         Document 381      Filed 11/15/05    Page 1 of 3




                                                                           Page 1 of 3


                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                              CASE NO.: 1:02-CR-024-SPM

NATHANIEL WILLIAMS,

     Defendant.
________________________________/

            ORDER DENYING MOTION TO CORRECT OR MODIFY
                    AND RECONSIDER SENTENCE

      THIS CAUSE comes before the Court upon the following motions, all filed

by Defendant: the “Motion to Correct Pre-Sentence Report; Motion for Leave to

Assert Objections to the Pre-Sentence Report; and Motion for Re-sentencing”

(doc. 273); the “Motion to Withdraw” (doc. 274); the “Motion for Evidentiary

Hearing on Plaintiff’s [sic] Motion to Correct Pre-Sentence Report; Motion for

Leave to Assert Objections to the Pre-Sentence Report; and Motion for Re-

sentencing” (doc. 379); and the “Motion to Withdraw Attorney and for the

Appointment of New Counsel” (doc. 380). It appears that the latter two motions

(docs. 379 and 380) refer to issues raised in the first two motions (docs. 273 and

274) but not ruled upon.

      All motions center around objections to the presentencing report (“PSR”).
Case 1:02-cr-00024-MW-GRJ                Document 381         Filed 11/15/05       Page 2 of 3




                                                                                         Page 2 of 3


On November 8, 2002, defense counsel filed eight objections to the PSR (doc.

243). At sentencing, counsel withdrew five objections and announced that the

Government had conceded to two, leaving only the issue of whether an

enhancement should be applied for Defendant’s role as an organizer or leader in

the offense. See Tr. of Sentencing Hr’g held Dec. 9, 2002. The Court sustained

that objection and sentenced Defendant to 200 months (which was later reduced

to 110 months pursuant to a Rule 35 motion, see doc. 359).

        Counsel later filed a motion admitting that he failed to inform Defendant of

his intent to withdraw certain objections and that Defendant was not aware of

counsel’s intentions at the time of sentencing (doc. 273). Counsel stated that

although his decision was a tactical one, he never made the pros and cons of

that decision clear to Defendant (doc. 274 at 2). The motion acknowledges that

these objections, if sustained, would have had a substantial impact on the

sentencing guidelines applicable to Defendant’s case. Based on these

admissions, counsel also moved to withdraw from the case (doc. 274).

        Claims relating to the ineffective assistance of counsel are properly raised

in a motion for post-conviction relief pursuant to 28 U.S.C. § 2255. See United

States v. Butler, 41 F.3d 1435, 1437 n.1 (11th Cir. 1995)(citing United States v.

Griffin, 699 F.2d 1102, 1107-08 (11th Cir.1983)).1 Because the claims raised in

        1
          To the extent that Defendant complains about the PSR itself, when a defendant has
had an opportunity to object at sentencing and has failed to do so, raising such objections post-
sentencing is too late. United States v. Peloso, 824 F.2d 914 (11th Cir. 1987). The Court notes
that Defendant does not complain of any errors inherent in the PSR; rather, he argues that the
numbers therein would have changed if he had raised his additional objections and those
objections had been sustained. As to Defendant’s contention that the Probation Office misstated
Case 1:02-cr-00024-MW-GRJ               Document 381          Filed 11/15/05       Page 3 of 3




                                                                                        Page 3 of 3


the instant motion relate to counsel’s failure to assert a number of objections to

the PSR, thereby affecting Defendant’s guideline range, the Court finds that they

are not appropriate for consideration here.

        As to the motion to withdraw and appoint new counsel, “a person for

whom counsel is appointed shall be represented at every stage of the

proceedings from his initial appearance . . . through appeal, including ancillary

matters appropriate to the proceedings.” 18 U.S.C. § 3006A(c). Because no

appeal was taken in this case, counsel’s duties have effectively concluded. If

Defendant chooses to pursue a § 2255 motion, he may at that time raise the

issue of appointing counsel to represent him for the purpose of pursuing post-

conviction relief. Accordingly, it is

        ORDERED AND ADJUDGED that the motions filed by Defendant (docs.

379 and 380) and counsel (docs. 273 and 274) are hereby denied. The denial is

without prejudice to Defendant’s right to raise the issues in the proper forum.

        DONE AND ORDERED this fifteenth day of November, 2005.


                                           s/ Stephan P. Mickle
                                        Stephan P. Mickle
                                        United States District Judge
/pao




the guidelines range at sentencing, Probation’s estimate was correct, as it was made before the
objection as to role in the offense was sustained.

1:02-CR-024-SPM
